
916 N.E.2d 545 (2009)
334 Ill.Dec. 130
PEOPLE State of Illinois, respondent,
v.
Allen BLOOMINGBURG, petitioner.
No. 104673.
Supreme Court of Illinois.
November 12, 2009.
Motion by petitioner for leave to file a motion for reconsideration of the order denying petition for leave to appeal. Motion allowed. The motion for reconsideration is allowed. The order denying the petition for leave to appeal is vacated. The petition for leave to appeal is denied. In the exercise of this Court's supervisory authority, the Appellate Court, First District, is directed to vacate its judgment in People v. Bloomingburg, case No. 1-05-0949 (04/16/07). The appellate court is directed to reconsider its judgment in light of People v. Hodges, 234 Ill.2d 1, 332 Ill. *546 Dec. 318, 912 N.E.2d 1204 (2009), to determine if a different result is warranted.
Order entered by the Court.
